Case 7:14-cv-00401 Document 56-7 Filed on 11/03/16 in TXSD Page 1 of 1

                                                                              EXHIBIT B-5




 COMPANY: State Farm                               INSURED: Reynaldo & Nora Cerda
                                                   ADDRESS: S910 N. Schuerbach Rd.
 CLAIM# 53-109S-143                                    Mission, Texas 78574


                                          AWARD


        We, the undersigned, pursuant to the within appointment, DO HEREBY CERTIFY that
 we have truly and conscientiously perfonned the duties assigned determined and do hereby
 award as the Actual Cash Value and the Replacement Cost Value of said property damaged by
  Wind I Hail


 Item    Dwelling               $22,524.58

 Item   Other Structures        $600.99

 Item


 Item


 Item

 ACTUAL CASH VALUE                 $21 798.27


 TOTAL AMOUNT OF LOSS __..$2....3....1=2-..5.__
                                              5.....
                                               7 _ _ _ _ _ _ _ _ _ __

 SPECIAL PROVJSIONS:
      1. Subject to policy provisions and deductible
      2. Less any previous payments per this claim
      3. Policy coverage to be addressed by others

 Witness our hands this 21th day of Januarv, 2016.

 Shannon Cook


 Darrell Edwards


 Cecil Parker
